        Case 25-30155 Document 144 Filed in TXSB on 06/19/25 Page 1 of 3
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                          June 20, 2025
        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                  SOUTHERN DISTRICT OF TEXAS
                                                   Nathan Ochsner, Clerk

                        HOUSTON DIVISION

  IN RE:                                            §      CASE NO. 25-30155
                                                    §
  ALLIANCE FARM AND RANCH, LLC,                     §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §
  IN RE:                                            §      CASE NO. 25-31937
                                                    §
  ALLIANCE ENERGY PARTNERS, LLC,                    §      (CHAPTER 11)
                                                    §
         DEBTOR                                     §
                                                    §


                   STIPULATION AND AGREED ORDER
           EXTENDING THE OBJECTION DEADLINE REGARDING
      APPLICATION FOR APPROVAL OF EMPLOYMENT OF OKIN ADAMS
          BARTLETT CURRY, LLP AS COUNSEL FOR DEBTORS AND
       APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF
     EXPENSES FOR THE PERIODS MARCH 14, 2025 THROUGH MAY 23, 2025
      (ALLIANCE FARM AND RANCH, LLC) AND APRIL 7, 2025 THROUGH
            MAY 23, 2025 (ALLIANCE ENERGY PARTNERS, LLC)
                           [Related to Doc No. 130]

       This Stipulation (“Stipulation”) is entered into by (a) Tom A. Howley in his capacity as the

chapter 11 trustee (the “Trustee”) in the above-numbered and styled bankruptcy proceedings; and

(b) Okin Adams Bartlett Curry, LLP (“Okin Adams”) (together the “Parties”). The Parties hereby

stipulate and agree as follows:

       WHEREAS, the Trustee was appointed on May 27, 2025 at Docket No. 115.

       WHEREAS, on June 4, 2025 Okin Adams f iled its Application for Approval of

Employment of Okin Adams Bartlett Curry, LLP as Counsel for Debtors and Application for

Compensation and Reimbursement of Expenses for the Periods March 14, 2025 Through May 23,

2025 (Alliance Farm and Ranch, LLC) and April 7, 2025 Through May 23, 2025 (Alliance Energy

Partners, LLC) (the “Application”).


                                                1
        Case 25-30155 Document 144 Filed in TXSB on 06/19/25 Page 2 of 3




        WHEREAS, the deadline to object to the Application is June 25, 2025 (“Objection

Deadline”).

        WHEREAS, the Parties have agreed that the Objection Deadline should be extended to

July 9, 2025 (“Extended Objection Deadline”) for the Parties to this Stipulation.

        NOW, THEREFORE, the Parties hereby stipulate and agree and it is ORDERED that:

        1.      The foregoing recitals are hereby incorporated by reference into this Stipulation

with the same force and effect as if fully set forth hereinafter.

        2.      Unless otherwise agreed to by the parties by separate stipulation, the Extended

Objection Deadline of July 9, 2025 shall be the objection deadline for the Parties to this Stipulation

regarding Okin Adam’s Application.

        3.      The provisions of this Stipulation shall be binding on the Parties and their

successors, heirs, and assigns and shall inure to the benefit of the Parties and their successors

and assigns.

        4.      Each person who executes this Stipulation on behalf of a Party hereto represents

that he or she is duly authorized to execute this Stipulation and agrees to the terms set forth herein.

        5.      This Stipulation shall be effective and enforceable immediately upon entry of this

Stipulation, in accordance with its terms.

       6.       The Bankruptcy Court retains jurisdiction with respect to the implementation of

this Stipulation, and the Parties hereby consent to such jurisdiction to resolve any disputes or

controversies with respect to this Stipulation.

Signed:
Signed:____________________,
        June 19, 2025        2025
        Houston, Texas

                                                            _____________________________
                                                  ____________________________________
                                                  ALFREDO R.Alfredo
                                                              PEREZR Pérez
                                                            United States Bankruptcy
                                                  UNITED STATES BANKRUPTCY           Judge
                                                                                 JUDGE


                                                    2
          Case 25-30155 Document 144 Filed in TXSB on 06/19/25 Page 3 of 3




Dated: June 18, 2025

/s/ Eric Terry
Eric Terry
Texas Bar No. 00794729
HOWLEY LAW PLLC
TC Energy Center
700 Louisiana St., Suite 4545
Houston, Texas 77002
Telephone: 713-333-9125
Email: eric@howley-law.com

Proposed Counsel for Tom A. Howley –
Trustee

- and -

OKIN ADAMS BARTLETT CURRY
LLP
/s/ Timothy L. Wentworth
Timothy L. Wentworth
Texas Bar No. 21179000
Email: twentworth@okinadams.com
1113 Vine Street, Suite 240
Houston, Texas 77002
Telephone: 713.228.4100
Facsimile: 346.247.7158

Proposed Attorneys for the Debtor



                                CERTIFICATE OF SERVICE

        I certify that on June 18, 2025, I caused a copy of the foregoing document to be served by
electronic transmission to all registered ECF users appearing in these cases.

                                          /s/ Eric Terry
                                          Eric Terry




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